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                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA :

                                                 :
                      v.                                               1:21-CR-59 (RC)
                                                 :

    WINSTON KELLY                                :


                                                 NOTICE OF FILING

             Undersigned counsel, on behalf of Winston Kelly, respectfully submits the attached

    for filing in the docket. 1


                                                           Respectfully submitted,
                                                           A.J. KRAMER
                                                           FEDERAL PUBLIC DEFENDER


                                                                  /s/
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1
    Counsel apologizes for neglecting to file periodic declarations.
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                                           May 24, 2021

AUSA Mary Dohrmann
USAO-DC
For the District of Columbia
555 4th St NW
Washington, D.C. 20004
        Re:     United States v. Winston Kelly, 21-cr-59 - Brady and Rule 16 Requests related to
                the D.C. Department of Forensic Sciences

Dear Ms. Dohrmann:

        I am in receipt of a series of Brady disclosures you have made on April 7, 2021 relating
to the Department of Forensic Sciences (DFS). Upon information and belief, these disclosures
have been uniform across cases involving DFS and have not been geared toward assessing what
impact recent events have on the government’s evidence against Mr. Kelly. I ask that your Office
now take the steps outlined below to ensure that the government’s Brady obligations have been
discharged as it relates to this specific case.

    1. Overview

       The foregoing represents my understanding of the DFS disclosures made to date. If your
understanding conflicts in any way, please notify me immediately. Otherwise, I will rely on the
below summary in preparing Mr. Kelly’s defense.

        It is my understanding that throughout the past year, the USAO/OAG auditors and DC-
OIG investigators have been sharing materials and information, and USAO prosecutors have, at
times, participated in witness interviews with investigators from the DC-OIG. Based on
representations made by the USAO, it is my understanding that the USAO/OAG audit has now
concluded with the March 18, 2021 Final Audit Report (“Audit Report”) but that the DC-OIG
criminal investigation remains ongoing.

       Through the Audit Report and supporting documentation, Mr. Kelly has been made
aware that “answer shopping,” that is, having multiple examiners review evidence and reporting
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a single conclusion despite conflicting results, “was not an uncommon practice at DFS.” 1
According to the Audit Report, DFS staff attempted to conduct re-examinations that would evade
reporting requirements by (1) omitting examiners from the chain of custody 2 and (2) selectively
characterizing certain re-examinations as “informal.” 3 The auditors further found that DFS
management manufactured an inconclusive result in the McLeod case, reasoning that an
inconclusive “is the safest answer” because “you can’t be wrong.” 4 In so doing, auditors describe
how DFS suppressed exclusionary results as well as what the auditors deemed to be false
positive casework errors.

Furthermore, the auditors found that DFS senior management submitted fraudulent information
to ANAB about the results of its re-examination of the McLeod evidence and covered up the
conflicting conclusions of its examiners. The auditors concluded that, “[m]anagement has cast
doubt on the reliability of the work product of the entire laboratory.” March 18, 2021
USAO/OAG Final Audit Report at 4.

Recently, the DC-OIG interviewed a witness who asserted that the systemic problems of answer-
shopping, dry-labbing, and corrupt management have affected other lab units as well. On April 7,
2021, the defense received a disclosure that the problems detailed by the auditors were also
present in the fingerprints unit. Specifically, this source explained that DFS recently discovered a
“systemic issue” with fingerprint analysts making examination errors and managers trying to
cover up these issues, including engaging in “answer shopping” for results that made this unit’s
problems seem smaller than they are in reality. The source also made reference to unspecified
problems in DFS’s DNA unit.

On April 2, 2021, following the issuance of the Audit Report and disclosure of selected DC-OIG
investigative memos, ANAB suspended the accreditation for the following units:

     -   Forensic Biology Unit
     -   Digital Evidence Unit
     -   Firearms Evidence Unit
     -   Latent Fingerprint Unit
     -   Forensic Chemistry Unit



1
    March 9, 2021 DC-OIG MOI- Jonathan Fried
2
 March 18, 2021 USAO/OAG Final Audit Report; February 12, 2021 DC-OIG MOI- Cody
Elder.
3
 December 1, 2020 DC-OIG MOI- Jonathan Fried; February 12, 2021 DC-OIG MOI- Cody
Elder.
4January 27, 2021 DC-OIG MOI- Elizabeth Bustamante; see also December 23, 2020 DC-OIG
MOI- Confidential Source 2 (“Due to the politics with the USAO and the high stakes of the
homicide cases involved, choosing inconclusive was a way not to commit to a specific
outcome.”); March 9, 2021 DC-OIG MOI Jonathan Fried (Pope and Arendse both stated “Why
put ourselves our there, if inconclusive is an appropriate answer.”).
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In its letter to DFS, ANAB stated it had received credible evidence that DFS deliberately
concealed information from ANAB, violated accreditation requirements, engaged in
misrepresentation and fraudulent behavior, and engaged in conduct that brought ANAB into
disrepute. ANAB explained that, under these circumstances, “suspension is a temporary measure
pending formal withdrawal” and “[w]ithdrawal of the laboratory’s accreditation will become
effective thirty calendar days from the date of this letter.”


In its original April 2020 directive to its auditors, your office made detailed reference to its belief
that DFS purposefully hid Brady and Giglio information about witnesses the government
sponsors. Most recently, as prosecutors in the McLeod case collaborated with the DC-OIG in its
criminal investigation, they learned that DFS did not produce all documents responsive to the
government subpoena in that case. The government is therefore on notice that it must take
affirmative, proactive measures to ensure its obligations are met in this case.

    2. USAO/OAG 2020-2021 Audit of DFS

2a. In addition to the reports and exhibits already disclosed, please provide:
    - Any and all written communications, including but not limited to emails and texts,
        between the audit team and the government regarding the audit. These include, but are
        not limited to communications regarding:
            o The USAO’s directive to the audit team;
            o Any documents provided to the audit team;
            o The changing scope of the audit 5;
            o Discussion regarding the substance of the audit;
            o Any drafts of the audit report;
            o Any notes, recordings, or other form of documentation of the investigation.

2b. In the USAO’s April 6, 2020 Directive to its auditors, the government notes:

    “When our Office first placed the crime scene technician [who was the subject of acrimony
    between the agencies] on the Lewis list, Dr. Smith instructed Raj and the Crime Scene Unit
    Chief to assign the employee to homicide crime scenes in an effort to force our Office to
    sponsor the DFS employee. Alarmed by Dr. Smith’s directive, Raj notified our Office and
    sought assistance from the Mayor’s then Counsel Mark Tuohey.” USAO April 6, 2020
    Directive at 2.



5
  Initially, the USAO directed the audit team to investigate DFS’s Brady/Giglio practices and
quality assurance systems, in addition to DFS’s re-examination of the McLeod evidence. April
23, 2020 Joint USAO/OAG Letter to DFS at 2. However, the audit reports did not address the
lab’s compliance with the government’s constitutional obligations. PDS objected to USAO-hired
forensic practitioners unilaterally assessing the DFS’s compliance with Brady. June 15, 2020
PDS Letter to USAO at 3. The USAO never responded to any of PDS’s institutional inquiries.
Thus, the formal scope of the USAO audit remains unclear.
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The government has not disclosed the source of this information, further details about the re-
assignment claim, or any underlying source documentation despite several disclosures regarding
the government’s own criminal investigation of DFS, its audit of DFS, and the DC-OIG
investigations into DFS. In light of this, please provide any and all information, including
witness statements, written communication (emails, texts, memoranda, and any other writings) as
well as source documentation regarding this allegation. Please identify the Crime Scene Unit
Chief and disclose whether this manager complied with Dr. Smith’s directive to assign the crime
scene technician to homicide scenes.


   3. DC-OIG Investigations

3a. The government has disclosed selected interview memoranda and emails gathered by the
DC-OIG. In addition to these selected materials, please provide:
    - Source documentation for each interview memorandum disclosed, including:
          o Any and all audio and/or video recording;
          o Any and all investigative notes;
          o Any and all written communications between the witness and government agents;
          o Any and all materials provided by the witness to government agents;
          o Any and all investigative materials following up on information provided by the
              witness
    - Additional interview memoranda and associated source documentation for other
       witnesses interviewed by the DC-OIG

3b. DC-OIG memoranda state that it is investigating allegations that Director Jenifer Smith and
General Counsel Todd Smith pressured analysts to change their answers after examining the
McLeod evidence. Please provide the source of the allegation that this pressure originated from
Dr. Smith and Mr. Smith. Please provide any and all evidence in the government’s possession to
support the allegation.

3c. In his March 9, 2021 interview with the DC-OIG, Jonathan Fried indicated that he recently
became aware of a 2016 quality issue where the FEU issued multiple reports on the same set of
ballistic evidence but reported out conflicting conclusions. Specifically, Fried stated that there
were four reports issued: three reports stated “identification” conclusions and the fourth report
stated an “elimination” conclusion. Fried was told that when the USAO confronted DFS about
these conflicting results, DFS revised all four reports and changed all conclusions to
“inconclusive.” According to Fried, he was told that “inconclusive” was reported without any a
evidence re-examination taking place. In light of this information, please take the following
steps:

   -   Identify the effected cases by defendant name and docket number;
   -   Confirm whether the USAO was aware of these conflicting examination results in 2016;
   -   Confirm whether the USAO confronted DFS about the conflicting results;
   -   Disclose what steps, if any, the USAO took in response to these conflicting reports and
       subsequently re-issued “inconclusive” reports;
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    -   Provide the ballistics case files, underlying source documentation, and communications
        between the USAO and DFS, including but not limited to emails, texts, letters, and
        memoranda.

3d. Finally, the government has indicated that DC-OIG initiated an administrative investigation
into DFS following the January 2020 USAO Fraud and Public Corruption Report. The
government has further indicated that after it provided the DC-OIG with materials produced by
DFS pursuant to the McLeod subpoena, DC-OIG began a criminal investigation. Please provide
information about the status of DC-OIG’s administrative investigation, whether it has closed, and
what findings, if any, were reached.

    4. Inquiry into DFS’s work product (answer-shopping, suppressing conflicting
       conclusions)


4a. In light of the facts outlined in Section 1, Mr. Kelly makes the following specific requests:

    -   Confirm in writing with every DFS analyst who performed testing in this case:
           o whether that examiner engages in the practice of leaving evidence with colleagues
               for “informal review” without documenting that evidence transfer in the chain of
               custody or in the examiner’s report of examination;
           o whether the evidence in this case was “shopped” around in any capacity, under
               the guise of consultation, consensus-building, or any other term used for “answer-
               shopping”;
           o the names of all DFS staff who reviewed evidence in this case, including any
               “informal” review or consultation;
           o any and all information reported during any “informal” review or consultation.

    -   Produce all emails and other written communications from DFS that relate to the
        evidence in this case. 6

    -   Given the reference in the March 31, 2021 DC-OIG MOI (Confidential Source 3) to a
        recent internal audit of the Latent Fingerprint Unit yielding disturbing results, please
        provide confirm whether DFS has conducted other internal audits of units housed within
        the Consolidated Forensic Laboratory, the Crime Scene Sciences Division, as well as the
        Forensic Chemistry Unit housed within the Public Health Laboratory. Please provide full
        source documentation associated with any recent internal DFS audits.

    -   Produce copies of the USAO’s recent complaints to ANAB regarding DFS’s casework,
        quality assurance, and oversight systems, as well as any additional documentation setting
        out the basis for those recent complaints. To the extent ANAB provided the USAO with
        materials responsive to the complaints, please provide these as well.

6
 The auditors detail how evidence of answer shopping and corresponding gaps in the chain of
custody were revealed through informal email communications between examiners and unit
supervisors.
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      5. Chain of Custody Requests and LIMS Audit in Light of Chain of Custody and Dry-
         Labbing Concerns

It has come to our attention that substantial chain of custody discrepancies exist between the
DFS LIMS system, DFS’s back-up paper chain of custody system, and the MPD File on
Q/Evidence on Q system. DFS employees routinely disregard the need to maintain a chain of
custody when they engage in “answer-shopping” and give physical evidence to other examiners
for review. Evidence gathered by the DC-OIG indicates that this practice is widespread. 7

Further, both the USAO/OAG Audit Report and the earlier FPC Report confirm multiple
instances of dry-labbing by DFS, i.e. examiners reporting out results and conclusions without
conducting an examination. 8

5a. In light of the above, please take the following action:
    - provide complete chain of custody documentation as it is reflected in (1) LIMS; (2) DFS
         paper chain of custody; (3) MPD File on Q/ Evidence on Q;
    - confirm in writing with each reporting examiner whether evidence was ever out of their
         immediate physical possession during the periods where LIMS lists the evidence in that
         examiner’s possession;
    - confirm in writing with the reporting analyst in each unit whether the COC accurately
         reflects the location of the evidence to their knowledge;
    - any and all training manuals that relate to packaging, maintaining and tracking evidence
         for the Crime Scene Sciences division, as well as each forensic analysis unit that had
         custody over the evidence;
    - DFS unit visitor logs for the time when the evidence was in the possession of DFS;
    - provide all LIMS audit trails and any other LIMS meta-data related to this case, including
         but not limited to audit trials related to the following:
             o chain of custody
             o verification for each examination conducted
             o administrative review for each examination conducted
             o technical review for each examination conducted
             o examination report date
             o FEU generic barcode
             o LIMS request for analysis
             o Helpdesk tickets
             o Any files uploaded in LIMS through case images


      6. DFS Employee Discipline and Quality Assurance Data

7
    March 9, 2021 DC-OIG MOI- Jonathan Fried; March 9, 2021 DC-OIG MOI- Ashley Rachael.
8
 Audit Report at 3 (Mulderig reporting “inconclusive” without examining or reevaluating
evidence); FPC report at 26-27 (Pope completing administrative and technical review for missing
casefiles).
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6a. In light of the ongoing problems related to the production of Brady and Giglio evidence at
DFS, and the corresponding need for the defense to investigate this evidence well in advance of
trial, please disclose the following for (1) all testifying witnesses; (2) all employees who appear
in the chain of custody for any physical evidence; and (3) all other employees the government
learns were involved in this case, even in an “informal” capacity:

   -   Official reprimands, including source documents such as:
          o Proposing official’s rationale worksheet, which sets out the alleged misconduct,
               any aggravating/mitigating factors, and reflects the DFS equivalent to MPD’s
               system of graduated discipline by explicitly listing past disciplinary history as an
               aggravating or mitigating factor.
          o Any and all written employee response(s)
          o Any and all written witness response(s)
          o Any and all audio files of witness and/or employee interviews
          o Any and all proposed disciplinary action(s)
          o Final agency decisions upholding or declining to impose findings and discipline
               set out in rationale worksheet

   •   Performance improvement plans, including letters of counseling, and/or letters of
       direction issued by management in response to poor performance.

6b. The defense further requests:
    • All Quality Corrective Action Reports (QCARs) that fall into the following 3
       categories:
           o Relate directly to the work performed in this case
           o Involve employees involved in the handling, processing, or testing of evidence in
              this case, or
           o Involve overall forensic unit quality issues that could have affected the evidence
              in this case.
                    For each type of QCAR request, the defense specifically request the full
                       reports (including Parts A-D as well as supporting documentation). We
                       also request all information pertaining to recommendations made by the
                       SAB on how to resolve such QCARs, including but not limited to all
                       notes, reports, memoranda and PowerPoint slides; all information
                       pertaining to whether or not DFS accepted or rejected any such SAB
                       recommendation, including but not limited to all notes, reports,
                       memoranda and PowerPoint slides; and all information relating to the
                       reason(s) why DFS accepted or rejected any such SAB recommendation,
                       including but not limited to all notes, reports, memoranda and PowerPoint
                       slides.
    • All Quality Preventative Action Reports (QPARs) that fall into the following 3
       categories:
           o Relate directly to the work performed in this case
           o Involve employees involved in the handling, processing, or testing of evidence in
              this case, or
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            o Involve overall forensic unit quality issues that could have affected the evidence
                in this case.
            o For each type of QPAR request, the defense specifically requests all reports,
                interview memoranda, as well as underlying documents and associated responses.
    •    DFS Nonconformity Tracker Entries 9 that fall into any of the following 3 categories:
            o Relate directly to the work performed in this case
            o Involve employees involved in the handling, processing, or testing of evidence in
                this case, or
            o Involve overall forensic unit quality issues that could have affected the evidence
                in this case.
    •    Protocols, SOPs, and/or other guidance issued by DFS regarding the non-
         conformity tracker that provide guidance on how to determine whether non-conforming
         work should be documented using the non-conformity tracker or Quality Corrective
         Action Report, or in some other manner. Similarly, please provide any guidance issued
         by DFS setting forth situations where non-conformities are not documented by any
         means.


    7. Identify the actors involved in already-disclosed QCARs

7a. I am in receipt of over 2,500 pages of QCARs categorized by year of issuance. These
documents fail to specify the identity of the employee to which each report relates. Please
provide this identifying information. Without this information, this voluminous disclosure is
incomplete and not usable. To discharge its constitutional obligations, the defense must be given
Brady information in a format that is “sufficiently specific and complete.” United States v.
Rodriguez, 496 F.3d 221, 226 (2d Cir. 2007). “Brady does not authorize the government to
engage in a game of hide-and-seek, or require the defense to ‘scavenge for hints of
undisclosed Brady material.’” Vaughn, 93 A3d 1237,1256 (D.C. 2014) (citing Miller v. United
States, 14 A.3d 1094, 1113 (D.C. 2011) (internal quotations omitted)). Without identifying the
staff-person involved, it is impossible to determine how a particular QCAR may relate to the
reliability of the government’s evidence or the preparation of Mr. Kelly’s defense.

7b. Please investigate and provide any information that DFS management or others at DFS
attempted to remove names from QCAR, QPAR, or non-conformity documentation. This
requests covers efforts to go back and remove names from previously completed QCARs,
QPARs, and non-conformity reports, as well as suggestions, efforts, or policy/practice type
changes to remove names from these documents as they are created going forward. Seeking to
prevent the discovery of names associated with these documents demonstrates an effort by DFS

9
  By “nonconformity tracker,” counsel refers to all documents, materials and information contained in DFS’s log
used for tracking non-conforming work. See, e.g., FSL Quality Assurance Manual at 4.11.1 (“The documentation of
the nonconforming work . . . will consist of an entry to the nonconformity tracker or a Quality Corrective Action
Report will be initiated.”). Note that it is our understanding that the nonconformity tracker captures a larger universe
of nonconformities than ultimately are processed as QCARs or QPARs; please do not assume that providing
QCARs/QPARs relieves the government of its obligation to provide information contained exclusively in the
tracker.
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to “thwart the ascertainment of the truth in a judicial proceeding” and is corruption bias. Longus
v. United States, 52 A.3d 836, 852 (D.C. 2012)

   8. Conclusion

While I have outlined the above detailed requests and the bases for those requests, I urge you to
not confine your Brady review to the requests above, but instead to conduct a comprehensive
review that extends beyond the file in this case to all information within the possession of the
prosecution team as it relates to systemic dysfunction and corruption at DFS, the failure of
quality assurance and oversight systems in place for the DFS units implicated in this case, as
well as any other exculpatory and/or impeachment information within the government’s
possession.

To ensure that Mr. Kelly’s trial is not delayed, the defense requests that the government provide
the requested materials as soon as possible. Any delay resulting from the government’s failure to
provide this Brady material promptly will be weighed heavily against the government. See
Vermont v. Brillon, 556 U.S. 81, 90 (2009) (“Deliberate delay to hamper the defense weighs
heavily against the prosecution.”).


Please do not hesitate to reach out if you have any questions or concerns about any of the above
requests.



                                                     Best.




                                                     Eugene Ohm
                                                     Attorney for Winston Kelly
